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                                        UNITED STATE DISTRICT COURT                           JUL 2 6 2024
 BYMAIL                             FOR THE EASTERN DISTRICT OF MISSOURI
                                           EASTERN DIVISION
                                                                                            U. S. DISTRICT COURT
                                                                                          EASTERN DISTRICT OF MO
                                                                                                  ST. LOUIS
     - DARIUS D. COBB,
               Movant Pro Se,

       V.                                                                 Case No. 4:22-CR-00134 HEA

       UNITED STATES OF AMERICA
               Respondent.


                               MOTION FOR RELIEF UNDER 28 U.S.C. SECTION 2255


            Here comes Darius D. Cobb respectfully moving this honorable Court to vacate, set aside, or correct

      his conviction or sentence on grounds of ineffective assistance of counsel (Massaro v. United States,

      538 U.S. 300, 504 (2003)).


                                                BACKGROUND
            Cobb received a multicount indictment on 3/09/2022, charging him with five counts for Aiding and

      Assisting in the Preparation of False and Fraudulent Returns in violation of 26 U.S.C. Section 7206(2).

      Patrick S. Kilgore was assigned by the Court as Cobb's counsel for all of the conviction proceedings, and

      was reassigned for Cobb's appeal proceedings.

            On 04/04/2023 Cobb pied guilty as to counts three and five, as part of a plea deal with the Government.

     Count 3 on the Guilty Plea Agreement said that •on or about April 13, 2018, the defendant prepared and

     filed a U.S. Individual Income Tax Return (Form 1040) for tax year 2017 in the name of JP .... The tax

     return prepared and filed by the defendant in the name JP for 2017 constituted a false claim for a refund

     in the amount of $642.00 which was paid out by the IRS: See ECF 44 at 3. Then Count 5 on the Guilty Plea

     Agreement said that "On or about February 4, 2019, the defendant prepared and filed a U.S. Individual

     Income Tax Return (Form 1040) for 2018 in the name of DE .... The tax return prepared and filed by the

     defendantin     r•   name DE for 2018 constituted a false claim for a refunt inthe amount of $6,811 .00 which

     was paid ut by the IRS." See ECF 44 at 4. The Guilty Plea Agreement als mentioned that Cobb's uncharged

     prior conduct "caused a loss to the Internal Revenue Service of approximately $517,021.00" (ECF 44 at 3).




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                            CERTIFICATE OF SERVICE

   I, Darius D. Cobb, hereby certify that on this ~ 3 day of July, 2024, I did place three

copies of the enclosed "MOTION FOR RELIEF UNDER 28 U.S.C. SECTION 2255", in the prison's

certified mailing system addressed to:

      Clerk of the Court
      United States District Court
      111 S. Tenth Street,
      St. Louis, MO 63102

Furthermore, I hereby certify that I did place one copy of the enclosed "MOTION FOR RELIEF

UNDER 28 U.S.C. SECTION 2255", in the prison's certified mailing system addressed to:

      Jennifer J. Roy
      United States Attorneys Office
      111 S. Tenth Street, 20th Floor
      St. Louis, MO 63102

Signed under the penalty of perjury this ,B day of July, 2024.


~~
Darius D. Cobb #97101-509
FCI Pekin
P.O. Box 5000
Pekin, IL 61555
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        If the defendant has multiple prior sentences, determine whether those sentences are counted
       separately or treated as a single sentence. Prior sentences always are counted separately if the
       sentences-were imposed for offenses that were separated by and intervening arrest (i.e. the
     ~ defendant is arrested. for the first offense prior to committing the second offense). If there is
       no intervening arrest, prior sentences are counted separately unless (A) the sentences resulted
       from offenses contained in the same charging instrument, or (B~ the sentences were imposed on
       the same day. Treat any prior sentence covered by (A) or (B) as a single sentence. See also
       [Section] 4A1 .1(d): For purposes of applying [Section] 4A1 .1(a),(b), and (c), if prior sentences
       are treated as a single sentence, use the longest sentence of imprisonmerit if concurrent
       sentences were imposed. If Consecutive sentences were imposed, use the aggregate sentence
       of imprisonment.

    As mentioned above, Cobb was sentenced on the same day for Docket Nos. 2101R-01033-01 and

    2101R-00512-01 on 12/17/2001, and for Docket No. 2101R-03739-01 on 12/27/2001. But the only reason

    for the separation of time in sentencing was because the St. Louis County Court chose to sentence Cobb

    on the evening of 12/17/2001 and then take a break for the Christmas_ holidays, to then resume his

    sentence on 12/27/2001 and run all three sentences· concurrently, and then parole him on all three

    sentences at the same time on 12/10/2002. There were no intervening arrests in between each

    sentence either and Cobb's sentence "resulted from offenses contained in the same charging instrument."

   Therefore, if the assessment of the three sentences in question would have survived the two previous

   challenges, then at best they could only produce a 2 point assessment under 4A 1.1 (b) instead of

   9 points under 4A 1.1 (a).

      Cobb was also improperly assessed 3 criminal history points under 4A 1.1 (a) for his Possession of a

   Controlled Substance sentence (Docket No. 1111-CR05133-01). On 02/20/2013, Cobb was sentence to

   seven years incarceration on this charge, but the execution of the sentence was suspended and he was

   placed on five year probation; On 11/22/2013, Cobbs probation was revoked and he was incarcerated for

   the sentence, but on 09/14/2014, he was released on parole. In other words, Cobb was not incarcerated

   for "one year and one month" as required by 4A1.1(a), and as defined by 4A1 .2(b)(1-2), which were

   quoted above. Therefore, Cobb was improperly assessed 3 criminal history points for his Possession of

   Contrrilled. Subsrnce sentence under 4A1. 1(a), when he should hlve been aisessed 2 points only under

   4A1. ~~b), which fnstructs to "Add 2 points for each prior sentence   ~mprison~ent of at least sixty days

   not counted in (a)"




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         Finally, Cobb received 1 additional criminal history point for Driving While License Suspended (Docket

   _ No. CR-2016-0487842}, which was improper1y assessed under 4A1.1 (c}. Section 4A 1.2(c}(1} says:

        Sentences for the following prior offenses and offenses similar to them by whatever name they
        are known, are counted only If (A} the sentence was a tenn of probation of more than one year
        or a tenn of imprisonment of at least thirty days, or (B} the prior offense was similar to an
        instant offense: .... Driving without a license or with a revoked or suspended license ...

     On 06/24/2016 Cobb was sentenced to 30 days jail and a $200 fine for Driving While License Suspended,

     but his sentence of incarceration was suspended and he did not serve 30 days at the county jail. Cobb

     does not recall the exact date of his release for his quick visit to the county jail, but records from the

     Municipal Court of Overtand Park in Kansas, and their county jail, would factually prove that Cobb did not

    serve 30 days of imprisonment. Section 4A 1.2(b}(2} says that •If part of a sentence of imprisonment was

    suspended, 'sentence of imprisonment' refers only to the portion that was not suspended.• Therefore,
                                                                        .       -
    because Cobb's 30 day sentence was suspended prior to its completion, he was erroneously assessed one

    point under 4A1.1 (c}, which requires a ■.enn of imprisonment of at least thirty days• in order to add a

    poirit.

       But beyond the improper application of tenn of imprisonment for the Driying While License Suspended,

    Cobb should not have been assessed for that sentence because it was erroneously issued by the Missouri

    Division of Child Support Enforcement and therefore erroneously issued by the Municipal Court. At the time,

    Cobb's license had been suddenly suspended, without his knowledge, because of failing to pay Child Supp~

    for a child that was proven not to be Cobb's through a DNA test. The child support was dismissed in St. Louis

    City Civil Court Division with prejudice in August of 2018 (Case No. 20222524). The Missouri Child Support

    Enforcement Division issued a termination order to reinstate Cobb's driver license and removed all debts .

   associated with the case on 8/28/2018 by issuing judge/official Rufus Ayers. Cobb is currently in the process

   of expunging the misdemeaoor record from Overland Park, KS. Therefore, Cobb could not have been

   assessed for a fraudulent conviction that is verifiable to be fraudulent.

      tbb argueJ that a proper assessment ·01 his previous corwic:tJtns would ~hly produce a Criminal

   History of 5, which would place him on Criminal History Category 3. A proper assessment of Cobb's

   criminal history would include:



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        1 point for the 10/04/2007 Criminal Nonsupport (Docket No. 2106R-04248-01) under 4A 1.1(c).

        2 points for the 09/26/2011 Possession of a Controlled Substance (Docket No. 1111-CR05133-01)
        under 4A1 .1(b).

       1 point for the 09/21/2013 Failure to Return to confinement and Assault of a Corrections Officer
       (Docket No. 1311-CR05693 under 4A 1.1 (c).

       1 point for the 01/15/2020 Domestic Assault (Docket No. 20SL-CR00251-01) under 4A1.1(c).

    Any other calculation would produce an inflated criminal history that would recommend a sentence range

    well above the statutory maximum 3 year sentence that 26 U:S.C. Section 7206(2) would allow, even in

    a multicount indictment.

       The U.S. Sentencing Commission warns against the multicount manipulation that Cobb experienced.

    The •introductory Commentary- for the 2023 Federal Sentencing Guidelines Manual states that "the

    Commission has written its rules for the treatment of multicount convictions with an eye toward

    eliminating unfair treatment that might flow from count manipulation.• Id. Ch.1 Pt. A at 4(a). Then

    the commentary provides an example to demonstrate that the guidelines treat multi-count indictments the

    same as single-count indictments, recommending appropriate punishment. The Sentencing Commission

   states that ~e guidelines treat a three-count indictment, each count of which charges sale of 100

   grams of heroin or theft of $10,000, the same as a single-count indictment charging sale of 300 grams of

   heroin or theft of $30,ooo.- Id. Then the Commission states that •a sentencing court may control

   inappropriate manipulation of the indictment through use of its departure power.• Id. Here Cobb argues

   that his two 7206(2) counts, count three for a •false claim for a refund in the amount of $642.oo• and

  • count five for a •false claim for a refund in the amount o~$6,811.0o• (ECF 44 at 4 ), should have produced

   a maximum sentence of 3 years total, in the same way as one 7206(2) count for a false claim in the

   amount of $7,453 would have produced a statutory maximum sentence of 3 years.

      Furthermo~e. the •introductory Commentary• for the 2023 Federal Sentencing Guidelines Manual

   de9icates a sectl· to ·Multi-Count Convictions: In it the Commli•sion explains.rat:

      l ~efendant      o assaults others during a fight, for example, JY warrant mbre punishment if
      he injures ten people than if he injl!'"~~- one, but his ~nduct does not !1ec::~ss~rily warrant ten
      times ttie punishment. If it did, many of tfie s1mplest offenses, for reasons that are often
      fortuitous, would lead to sentences of life imprisonment-sentences that neither just ~eserts
      nor crim~ control theories of punishment would justify. Id. Ch.1 Pt. A at 4(e).


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   2106R..:04248-01). All three sentences ran concurrently with each other. However, on 12/10/2002, less

   !t)an a year of ~ng incarcerated, _Cobb was released on parole for the three sentences mentioned above

   (Docket Nos. 2101R-01033-01, 2101R-00512-01, and 2106R-04248-01). In other words, the thr~e

   sentences were not •imposed within fifteen years of the defendant's commencement of the instant

   offence·, which was 4/13/2018 according to Count 3 of Guilty Plea Agreement (ECF 44 at 3). Furthermore,

   because Cobb was released on parole.for the'1hree sentences on 12/10/2002, he was not •incarcerated
   during any part of such fifteen-year period• prior to Cobb's •commencement of the instant offense•

   4A1 .2(e)(1). In other words, the three sentences in question could not have been assessed nor presented

   before this Court, and the 9 points th.at were added to Cobb's Criminal Histo!'Y for them should be removed.

      But even in the unlikely event the three sentences in que~tion would have been accepted as part of

   Cobb's Criminal History, Cobb still would have been improperly assessed for other reasons. Cobb did not

   serve a term of imprisonment required by the 4A 1.1 (a) guideline that he was assessed under for the

  three sentences in question. Section 4A1 .1(a) says: "Add 3 points for each prior sentence of

  imprisonment exceeding one year and one month:• And section 4A 1.2(b)(1-2) says:

     (1) The term •sentence of imprisonment• means a sentence of incarceration and refers to the
     maximum sentence imposed. (2) If part of a sentence of imprisonment was suspended, "sentence
     of imprisonment" refers only to the portion that was not suspended.

  Cobb was sentenced for Docket Nos. 2101R-01033-01 and 2101R-00512-01 on 12/17/2001, and for Docket

  No. 2101 R-03739-01 on 12/27/2001. However, Cobb was released on parole for his three concurrently

  running sentences on 12/10/2002, which was a term of imprisonment of less than a year (from

  12/17/2001 to 12/10/2002). Therefore, Cobb was erroneously assessed under4A1.1(a), because he was

  not incarcerated for •one year and one month" as required by 4A1.1 (a), and as defined by 4A 1.2(b)( 1-2).

  In sum, the three sentences in question could not have been assessed nor presented before this Court.

     But even if somehow the three sentences in question would still prevail in taking part on Cobb's

  CrimitallHistory lssessment, Cobb still would be improperly assestedt becau519 the three sentences

  should h~ve bee treated as a single sentence, at best. Section 4A .2~a)(2) sa~s:




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                                                ARGUMENT


     '    In Strickland v. Washington, 466 U.S. 668, 104 S. Ct. 2052, 80 L. Ed. 2d 674 (1948), the Supreme .

     Court set forth the standard to apply for ineffective assistance of counsel claims. In Strickland, the

     Supreme Court established a two prong test, which requires Movant to show that (1) Counsel's

     performance was deficient; and (2) that counsel made errors so serious that counsel was not functioning

     as the "counsel" guaranteed by the Sixth Amendment. Id. at 687. Here Cobb will present two claims of

     ineffective assistance of counsel with specificity, supported by facts and arguments, which will show

     that his counsel's performance was indeed deficient, and that the errors counsel Kilgore made seriously

     prejudiced Cobb. Furthermore, Cobb will also show in his claims that had it not been for his counsel's

     errors, he would have received a lower sentence.


     CLAIM 1:

     Cobb's counsel provided ineffective assistance by failing to investigate, object, or argue that he was

     improperly assessed Criminal History points and Criminal History Category in the PSR prior to sentencing

    and at sentencing, and had he objected to the improper assessment Cobb would have received a lower

    sentence.


         Cobb was improperly assessed 9 criminal history points for three prior sentences that were older

    than the "Applicable Time Period" listed on Section 4A1 .2(e)(1) of the United States Sentencing

    Guidelines, which says:

         Any prior sentence of imprisonment exceeding one year and one month that was imposed within
         fifteen years of the defendant's commencement of the instant offense is counted. Also count
         any prior sentence of imprisonment exceeding one year and one month, whenever imposed, that
         resulted in the defendant being incarcerated during any part of such fifteen-year period.

    On 12/17/2001, after Cobb's probation was revoked on the case for Passing a Bad Check - Over $150

    (Dockit No. 21f1R-01033-01), he was sentenced to five years incatratioJ and on the case for

    FraudJlent usJ of CrediVDebit Device (Docket No. 2101R-00512-0          to six ears incarceration. And on

    12/27/2001, Cobb was sentenced to five years incarceration for Criminal Nonsupport (Docket No.
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     03/18/2016 (Age 44) Driving While License Suspended (M); Municipal Court, Overfand Park, KS;
 ___ Qocket No. CR-2016-0487842 06/24/2016: Sentenced to 30 days jail; fined $200. 4A1.1(c) 1 point.
     01/1512020 (Age 48) Domestic Auault - 4th Degree (M); Circuit Court, St. Louis County, MO;
   ~ Docket No. 20SL-CR00251-01 06/03/2021: Sentenced to one year jail; execution of sentence
     suspended and placed on two years probation; on 06/03/2023, probation completed. 4A1.1(c)
        1~~                                                      •

     Before Cobb's sentence, his Offence Level was 17, his Criminal History assessment was 16, and his

     Criminal History Category was 6, which recommended a sentence between 51-63 months' imprisonment.

     Therefore, on 10/10/2023, Cobb was sentenced to a total term of 51 months of imprisonment. The

     sentence consisted of 36 months on each of Counts 3 and 5, to be served concurrently, except for 15

    months on Count 5 that would be run consecutively to Count 3. Cobb also received a term of 1 year

    Supervised Release, a Special Assessment in the amount of $200, and Restitution in the amount of

    $85,584 (as agreed on the Guilty Plea Agreement). See ECF 65.

       Finally, the Guilty Plea Agreement included a waiver of appeal and post-conviction rights. The Guilty

    Plea Agreement waved all non-sentencing issues, and said that •the defendant herby waives all rights to

    appeal all sentencing issues other than Criminal History, but only if it affects the Base Offense Level or

    Criminal History Category.• The Guilty Plea Agreement also waved Habeas Corpus rights, "except for

    claims of prosecutorial misconduct or ineffective assistance of counsel." See ECF 44 at 7.

       Prior to sentencing, Cobb's counsel, Mr. Kilgore, did not file any objections to the Criminal History

    calculations and Criminal History Category from the PSR, despite of Cobb's verbal and text messages

    requesting for counsel to object. At sentencing, Cobb's counsel did not object to the Criminal History

   points calculations and Criminal History Category, despite of Cobb's verbal request for counsel to object.

   Re-assigned as Cobb's counsel on appeal, Mr. Kilgore chose to appeal the excessive length of Cobb's

   sentence, but again failed to object the Criminal History points calculations and the Criminal History

   Category. In fact, Cobb's counsel chose to appeal grounds that Cobb could not even appeal due to his

   plea agreement. Naturally, Cobb's appeal was dismissed. Therefore, Cobb now files this 2255 motion to

   a'!'e i~ffec+ assistances of trial and appeal counsel.                  11    I




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         The Guilty Plea Agreement also included a section about Cobb's Offense Level. Cobb's base Offense

      Level was 18 as found in U.S.S.G. Section 2T1.4(a)(1) and 2T4.1(G) because the tax loss was more than

      $250,000 but less than $550,000. Two levels were then added pursuant to section 2T1 .4(b)(1)(B) because

      Cobb was in the business of preparing tax returns. Finally, three levels were deducted for Acceptance of

      Responsibility pursuant to Section 3E1.1(a) and (b), so the Total Offence Level was 17. See ECF 44 at 5-6.

        The Guilty Plea Agreement did not include a section about Cobb's Criminal History. Instead, the Guilty

     Plea Agreement said that "The determination of the defendant's Criminal History Category shall be left to

     the Court. Either Party may challenge, before and at sentencing, the finding of the Presentence Report as

     to the defendant's criminal history and the applicable category.• See ECF 44 at 6. As set forth in the PSR

     (ECF 51 ), Cobb's Criminal History assessment of .16 included the following convictions:

        05/24/1996 (Age 24) Passing a Bad Check - Over $150 (F); Circuit Court, St. Louis County, MO;
        Docket No. 2101R-01033-01 02/17/1999: Sentenced to five years incarceration; execution of
        sentence suspended and placed on three year probation; on 06/13/2000, probation suspended;
        on 12/17/2001, probation revoked and sentenced order executed, concurrent with Docket Nos.
        2101R-05090-01 and 2101R-03739-01; on 12/10/2002, released on parole; on 08/09/2005, parole
        retum - work release; on 12/21/2005, re-released on parole; on 06/10/2007, parole discharged.
        4A 1.1 (a) 3 points.

        08/13/2001 (Age 30) Criminal Nonsupport (F); Circuit Court, St. Louis County, MO; Docket No.
        2101R-03739-01 12/27/2001: Sentenced to five years incarceration, concurrent with Docket Nos.
        2101R-00512-01 and 2101R05090-01; on 12/10/2002, release on parole; on 08/09/2005, parole
        retum - work release; on 12/21/2005, released from work release program; on 06/10/2007,
        parole discharged. 4A1.1(a) 3 points.

       11/15/2000 (Age 29) Fraudulent Use of Credit/Debit Device (F); Circuit Court, St. Louis County,
       MO; Docket No. 2101R-00512-01 12/17/2001: Sentenced to six years incarceration, concurrent
       with Docket Nos. 2101R-05090-01 and 2101R-05139-01; on 12/10/2002, release on parole; on
       08/09/2005, parole retum - work release; on 12/21/2005, re-released on parole; on 06/10/2007,
       parole discharged. 4A1.1(a) 3 points.

       10/04/2007 (Age 36) Criminal Nonsupport (F); Circuit Court, St. Louis County, MO; Docket No.
       2106R-04248-01 10/17/2008: Imposition of sentence suspended and placed on five years probation;
       on 10/18/2013, probation discharged. 4A1.1(c) 1 point.

       09/26/2011 (Age 40) Possession of a Controlled Substance (F); Circuit Court, St. Charles County,
       MO; Docket No. 1111-CR05133-01 02/20/2013: Sentenced ·to seven years incarceration; execution
       of sf,~e~ce suspended and placed on five year probation; on 11;~2~13, probation revoked and
       sen c ordered executed; on 09/15/2014, released on parole; 111 29/2017, parole discharged.
       4A11 a)3 points.

       09/21/2013 (Age 42) Ct. 1: Failure to Return to Confinement (M) Ct. 2: Assault of a Corrections
       Officer- 3rd Degree (M); Circuit Court, St. Charles County, MO; Docket No. 1311-CR05693
       05/13/2014: Sentenced to 30 days jail on each count. 4A1 .1(c) 1 point.




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      Here Cobb argues that this logic applies to his case because although he pied guilty to two 7206(2) counts

      "his conduct does not necessarily warrant (almost 1.5) times the punishment; resulting in an excessive

      51 month sentence.

         Cobb mentioned all the facts discussed above regarding the five sentences that were erroneously

     assessed to his counsel, Mr. Kilgore, but he failed to investigate, object, or argue any of the issues

     presented above when the PSR was drafted. The records from this District Court verify that Cobb's

     counsel did not submit any written objections, despite of Cobb's verbal and text requests. At sentencing,

     Cobb's counsel did not object to the Criminal History or the Criminal History Category either, despite of

     Cobb's verbal request for counsel to object. Had Mr. Kilgore objeqted to the erroneous assessment of

     Cobb's Criminal History and Criminal History Category prior to sentencing or at sentencing, then the 11

     points that Cobb received erroneously, for the five sentences mentioned above, would not have been

     counted. Cobb would have been assessed a Criminal History of 5, and a Criminal History Category of 3,

     with an Offence Level of 17, which would recommend a sentence between 30-37 months. Here Cobb

     argues that (1) Mr. Kilgore's performance was deficient, due to his failure to object to the improper

     assessment of his Criminal History and Criminal History Category in the PSR, before the sentencing and

    at sentencing; and that (2) Mr. Kilgore's errors were so serious that counsel was not functioning as the

    "counsel" guaranteed by the Sixth Amendment, and had it not been for Mr. Kilgore's errors, Cobb would

    haver received a lower sentence, had Mr. Kilgore made the objections and arguments presented here

    in Claim 1.


    CLAIM2:

    Cobb's counsel provided ineffective assistance by appealing issues that Cobb had agreed not to bring on

    appeal, as part of his plea agreement, and for failing to investigate, object, or argue that he was

    imr~oper1y assessed Criminal History point~ and Criminal Histor Catego.ry, which Cobb could contest on

    a4taI, and if co~sel had appealed those issues Cobb would        #-    rece,ved a ~ r sentence.




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         Stated simply, Cobb requested that his counsel, Mr. Kilgore, appeal the Criminal History points and

      Criminal History Category for the same erroneous assessment arguments presented in Claim 1, for the

      five sentences in question there. Again Cobb argues that (1) Mr. Kilgore's performance was deficient due

      to his failure. to present the improper assessment of his Criminal History and Criminal History Category

      on appeal, and due to appealing the length of Cobb's sentence, which was an issue that Cobb had agreed

     not to bring ~n appeal; and that (2) Mr. Kilgore's error's were so serious that counsel was not functioning

     as the •counsel• guaranteed by the Sixth Amendment, and had it not been for Mr. Kilgore's errors, Cobb

     would have rece.ived a lower sentence, had Mr. Kilgore appealed the issues presented in Claim 1.


                     EVIDENTIARY HEARING AND APPOINTMENT OF COl)NSEL REQUEST

        An evidentiary hearing is necessary because factual disputes exist. United States v. Seller, 773 F.3d

     927, 929 (8th Cir. 2014). The record is sufficient to verify that Cobb was improperly assessed 9 Criminal

     History points for the three prior sentences for Passing a Bad Check - Over $150 (Docket No.

     2101R-01033-01 ), Fraudulent Use of CrediVDebit Device (Docket No. 2101 R-00512-01 ), and Criminal

     Nonsupport (Docket No. 2106R-04248-01) because the PSR shows that Cobb was released on parole on

     12/10/2002. The record is also sufficient to verify that Cobb was improperly assessed 3 Criminal History

     points under 4A 1.1(a), instead of 2 points under 4A 1.1 (b), for the Possession of a Controlled Substance

     (Docket No. 1111-CR05133-01) because the PSR shows that Cobb's sentence was suspended, and when

     his probation was revoked he was incarcerated for less than a year, from 11/22/2013 to 09/15/2014,

     and then released on parole.


       However, the record is not sufficient to show that Cobb made verbal and text requests to his counsel,

    Mr. Kilgore, to investigate, object, and argue the improper assessment of Cobb's Criminal History and

    Criminal History Category, before sentencing, during sentencing, and on appeal. The record is also not

    slrcient to show tat Cobb did not serve 30 days in county jail ,ior the Driving vi,'hile License Suspended

    (Dpcket No. CR-2d1s-0487842); nor is it sufficient to show that ~e child suppo~ violation, for a child

    that was not Cobb's, which caused the suspension ·o f his license, was later dismissed with prejudice and

    his license was reinstated.


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            Therefore, Cobb respectfully requests an evidentiary hearing on the above mentioned factual disputes,

       and Cobb also requests the appointment of counsel to represent him in the evidentiary hearing process

       -
       and the resentencing process. Here the appointment of counsel is required for the interest of justice

       (Hoggard v. Purkett, 29 F.3d 469,471 (8th Cir. 1994)), and because an evidentiary hearing is needed

       (Rule 8(c) of the Rules Governing Section 2255 Proceedings).


                                          RESENTENCING AGREEMENT

            The ineffective assistance of counsel, for the erroneous assessment of Cobb's Criminal History and

       Criminal History Category, and the multicount manipulation that Cobb experience, which all produced an

       excessive sentence well above the statutory maximum sentence for 7206(2) counts, merits resentencing.

       Cobb has argued that a proper assessment of his previous convictions would produce a Criminal History

       of 5, and a Criminal History Category of 3, with an Offense Level 17, which would recommend a sentence

       between 30-37 months.

        • Cobb has requested an evidentiary hearing because factual disputes exist. However, Cobb is willing

   to wave his evidentiary hearing and appointment of counsel requests, if the Government states in its

   Response that it does not oppose to Cobb being resentenced to no more than 36 months, the statutory

   maximum for a 7206(2) count, and this honorable Court agrees to a sentence between 30-36 months, to

   remedy the ineffective assistance of counsel claim~ presented in this motion. The purpose of such

  agreemeht would be to save precious resources from the Government and this Court, and to prevent tax

  payer dollars being spent to further litigate this case. Specially since this case involves a fraud in the

  amount of $7,453, which is what Cobb pied guilty to, and since Cobb would prevail in an evidentiary

  hearing, which would result in resentencing.



                               3553(a) FACTORS AND SUGGESTED SENTENCE

       I then this honoraile Court chooses to resentences Cobb, i~ 111 evaluate the 35r 3(a) factors. including

  the nature and circumstances of the offense; the history and characteristics of the defendant; the need

  to reflect the seriousness of the offense, to promote respect for the law. and to provide just punishment

  for the offense; to afford adequate deterrence to criminal conduct; to protect the public from future crimes


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     from Cobb; and to provide Cobb with needed educational or vocational training, medical care, or other

     correctional treatment in the most effective manner.

         Here Cobb argues that resentencing him to a suggested sentence of 30 months imprisonment, 1 year

     Supervised Release, a Special Assessment in the amount of $200, and Restitution in the amount of

     $85,584 (as agreed on the Guilty Plea Agreement), would satisfy all the 3553(a) factors. In support of this

     argument Cobb presents the following cases of similarty situated individuals as reference:

         United States v. Brian Keith Ellefsen, and United States v. Marie Edward Ellefsen,
        2008 U.S. Dist. LEXIS 57521 fY'/.D. Mo., 7/30/2008)
        Brian Keith Ellefsen and Marie Edward Ellefsen were convicted of conspiracy to defraud the United
        States in violation of 18 U.S.C. Section 371, by obstructing the Internal Revenue Service (IRS) in
        the assessment and collection of federal taxes. Brian was also convicted of three counts of filing
        false income tax returns, in violation of 7206(1 ), while Marie was convicted of three counts of
        aiding and assisting the preparation of false income tax returns, in violation of 7206(2). The
        District Court sentenced Brian to 22 months imprisonment and ordered restitution in the amount
        of $1,202,475.58. Mark was sentenced to 14 months imprisonment and ordered to pay $50,000 in
        restitution.

        United States v. McAllister, 2022 U.S. Dist. LEXIS 95142 (E.D. Mo., 5/27/2022)
       McAllister pied guilty to three counts of 7206(2). Defendant's conviction was based on her
       preparation of thirty-nine fraudulent tax returns on behalf of clients of her tax preparation
       business. The relevant conduct was $920,854, but the tax losses were restricted $205,093 for
       purposes of the sentencing guidelines calculations. On June 30,2021, the Court sentenced McAllister
       to 37 months incarceration, one year of supervised release, special assessment of $300, and
       restitution of $920,854.

       United States v. Brooks, 2017 U.S. Dist. LEXIS 112064 (E.D. Mo., 6/5/2017)
       Brooks pied guilty to one count of conspiracy to defraud the United States in violation of 18 U.S.C.
       Section 371 and two counts of aiding and assisting in the preparation of a false income tax return
       in violation of 7206(2). Brooks was sentenced to 18 months incarceration, three years supervised
       release, a special assessment of $100 on each of the three counts, and restitution of $99,273.

    In each of the cases listed above, the defendants received a lower sentence than the one Cobb received,

    and in each case the evaluation of the 3553(a) factors supported the sentence issued in each case. Here

    Cobb argues that his suggested sentence of 30 months incarceration would indeed: consider the nature

    and circumstances of his offense; consider Cobbs history and characteristics; consider the need to reflect

    the seriousness of the offense in the right proportion, to promote respect for the law, and provide just

   ~nishment, not gre+er than necessary and not disproporuofr when compare ti other similarly

   situated defendants; etc.




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            Although Cobb does not presents this point as an ineffective assistance of counsel, Mr. Kilgore made

         an additional error that prejudiced Cobb. Mr. Kilgore failed to present, prior to sentencing and at

       ~ sentencing, important facts that would serve as character references for this Court to consider as it

         evaluates the 3553(a) factors. Cobb now presents the following facts in preparation for his resentencing.

            Prior to Cobb's indictment and during the convictio~ procedures, he was working for the Coach T

         Foundation, coaching at risk youth in St. Louis, MO. He took kids from the inner city and rural areas

         and created High School summer basketball travel teams that played in front of collage coaches to obtain

        collage scholarships. Cobb was working with the American Legion Baseball Association, to implement the

        first African American Legion Baseball Post (Tom Powell) in the city of St. Louis, MO. The program also

        was to also to include ACT prep-work, nutritional enrichment, and community volunteering with veterans,,

        to be held at various veteran homes in the metropolitan area. Cobb also gave the young men in the

        Harris-Stowe baseball program an opportunity to obtain summer jobs through an organization called

        Perfect Game. At perfect game Cobb was the Umpire in charge training as well as providing jobs for

        80 people (ages 14-17). Cobb also was working with Harris Stowe University and the St. Louis Cardinals,

        assisting the school in the process of getting the state to recognize their baseball facility as a historical

        landmark, because it was the home of the St. Louis Stars Negro League. Furthermore, Cobb also

        volunteered in the Missouri Youth Sports Association, serving as head official for youth football games.

        While volunteering at Missouri Youth Sports, Cobb also assisted with preparing the fields for games for

       the youth (5-13 years old). Cobb indeed made the best of his time while out on bail during the conviction

       procedures. Cobb not only complied with all his pre-conviction release conditions, but also maintained

       employment and continued serving his community. However, this was not mentioned at sentencing.

          During Cobb's current incarceration, he has actively pursued multiple rehabilitation opportunities

       offered at his Federal Correctional Facility in Pekin, IL. Cobb has completed a Cognitive Skills Program,

       rn Anger Management Program, A Financial Management Clrss, Traumatic Stress land Resilience Program,

       ~nd a Parenting Prog~m. Cobb has completed multiple s~lf s~udy enrichment progrjams offered from the

       education and recreation departments. Gobbis--currently in the process of participating in the Threshold




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          Program, a non-residential cognitive-behavioral-treatment program, intended to teach participants to

          apply principles of their faith to various life areas, and to reduce recidivism. He is currently employed as a

          GED Math Tutor and a Suicide Prevention Companion. Cobb has maintain a clear disciplinary record while

          incarcerated and has paid all his financial obligations as scheduled.
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         ·upon his release, Cobb intends to relocate to the metropolitan Dallas, TX area and live with his

         spouse at their home. Cobb intends to work as a Over the Road (OTR) driver, as well as studying to obtain

         a degree in Sociology in order to become a counselor for at-risk-youth. On his free time, Cobb intends to

         continue helping to mentor youth through involvement in sports and education. Cobb also intends to

         complete the projects he was involved with in his home state of Missouri, assisting with the programs

         mentioned above from Harris Stowe University. Cobb will make sure to meet all his financial obligations

         to the Federal Government by paying his restitution as scheduled, and complying with all probation

         expectations. Finally, Cobb will not reoffend in any way and will live a crime free life and never return to

         prison.


                                                  CONCLUSION

            _In this 2255 motion to vacate, set aside, or correct Cobb's sentence, Cobb has sufficiently

         demonstrated that his counsel, Mr. Kilgore, was indeed ineffective. Mr. Kilgore's failure to investigate,

         object, or argue that Cobb was improperly assessed Criminal History points and Criminal History Category

         before sentencing, at sentencing, and on appeal, were errors that were so serious that counsel was not

     functioning as the "counsel" guaranteed by the Sixth Amendment, and had it not been for Mr. Kilgore's

     errors, Cobb would have received a lower sentence.

           Cobb has requested an evidentiary hearing because factual disputes exist, and he also requested the

     appointment of counsel to represent him on the required evidentiary hearing and resentencing

     arrangement that would follow. However, Cobb has presented a resentencing agreement that would save

    ltrecious resources fro~ this honorable Court, the Governm,Ht, and tax payers. co+, would wave his

     request for an evidentiary hearing and appointment of counsel if the Government and this Court agree to




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 ~    fesentence him under the guideline range of 30-37 month of imprisonment. Cobb suggest that a 30 month

      sentence would fulfill all the 3553(a) factors unique to this case. Perhaps Cobb's plea is best made in the

      words of Presiding Abraham Lincoln, who said, •1 hav~ aJways found that Mercy bears richer fruits than

      strict justice.• Here Cobb, as a 53 year old man pursuing rehabilitation and with intentions to continue

      being a positive asset to his community upon release, respectfully asks this Court for the same merciful

      justice spoken about by president Lincoln.




       Respectfully Submitted,




      Darius D. Cobb #97101-509
      FCI Pekin
      P.O. Box 5000
      Pekin, IL 61555




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                            CERTIFICATE OF SERVICE

   I, Darius D. Cobb, hereby certify that on this ~~ day of July, 2024, I did place three

copies of the enclosed "MOTION FOR RELIEF UNDER 28 U.S.C. SECTION 2255", in the prison's

certified mailing system addressed to:

      Clerk of the Court
      United States District Court
      111 S. Tenth Street,
      St. Louis, MO 63102

Furthermore, I hereby certify that I did place one copy of the enclosed "MOTION FOR RELIEF

UNDER 28 U.S.C. SECTION 2255", in the prison's certified mailing system addressed to:

      Jennifer J. Roy
      United States Attorneys Office
      111 S. Tenth Street, 20th Floor
      St. Louis, MO 63102

Signed under the penalty of perjury thisJ3 day of July, 2024.



Darius D. Cobb #97101-509
FCI Pekin
P.O. Box 5000
Pekin, IL 61555
